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                        UNITED STATES DISTRICT COURT

                           DISTRICT OF CONNECTICUT




UNITED STATES OF AMERICA

v.                                               Case No. 3:99 cr 264 (PCD)

LYLE JONES


     ORDER RE: REDUCTION OF SENTENCE RE: CRACK COCAINE OFFENSE

       Defendant’s motion for re-sentencing is denied.

       Though the sentencing guidelines are now required to be considered and are not

mandatory as at the time of the original sentencing, upon full review of the record of this

case and the pending motion, the factors in the record as rated at the original sentencing

remain to be considered now and after consideration there is no basis found from

imposing any different sentence even though the guidelines are now only advisory.

Accordingly the sentence originally imposed will not be reduced.

       SO ORDERED.

       Dated at New Haven, Connecticut, August 11, 2009.




                                    /s/
                                          Peter C. Dorsey, Senior
                                          United States District Judge
